Case 5:19-cv-00548-CEM-PRL Document 73 Filed 01/14/20 Page 1 of 2 PageID 599



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION

CHERYL WEIMAR,

       Plaintiff,

v.                                                    Case No. 5:19-cv-548-Oc-41PRL

THE FLORIDA DEPARTMENT
OF CORRECTIONS, KEITH
TURNER, and RYAN DIONNE,

      Defendants.
_______________________________/

                                             ORDER

       This prisoner civil rights case is before the Court on Plaintiff’s Second Amended

Complaint, filed on October 31, 2019. (Doc. 35). In it, Plaintiff alleges that the two named officers

violated her Eighth Amendment right to be free from cruel and unusual punishment (Count I), and

that the Florida Department of Corrections violated her rights under the Americans with

Disabilities Act (Count II) and the Rehabilitation Act (Count III), both of which prohibit

discrimination.

       Pending before the Court now is a motion styled: Verified Motion for Protective Order,

filed by non-party Securus Technologies, Inc. (“Securus”). (Doc. 71). The motion notes that the

parties have agreed to the protective order except for paragraph C(2)(f), which deals with the

disclosure of information to witnesses who do not sign Exhibit A, which confirms compliance with

the protective order. See Doc. 71-1 at 7. The protective order does not prohibit the disclosure of

this information to witnesses that refuse to sign Exhibit A but allows the parties to return to Court

for a determination of the need for disclosure. The protective order is limited to the needs of this
Case 5:19-cv-00548-CEM-PRL Document 73 Filed 01/14/20 Page 2 of 2 PageID 600



case and does not impose an undue burden on the parties given the nature of the material, including

phone calls witnesses may not be a party to.

       Accordingly, the Motion for Protective Order (Doc. 71) is GRANTED.

       IT IS SO ORDERED.

       DONE AND ORDERED at Ocala, Florida, this 14th day of January 2020.




Copies to: Counsel of Record




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